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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :       Case No:
                                               :
               v.                              :
                                               :       VIOLATIONS:
                                               :
JESUS RIVERA,                                  :       18 U.S.C. § 1752(a)
                                               :       (Restricted Building or Grounds)
               Defendant.                      :
                                               :       40 U.S.C. § 5104(e)(2)
                                               :       (Violent Entry or Disorderly Conduct)

                                              ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal, the Court finds that, because of such reasonable grounds to believe the disclosure of the

complaint and associated filings will result in flight from prosecution, destruction of or

tampering with evidence, intimidation of potential witnesses, and serious jeopardy to the

investigation, the United States has established that a compelling governmental interest exists to

justify the requested sealing.

       1.      IT IS THEREFORE ORDERED that the application is hereby GRANTED, and

that the affidavit in support of criminal complaint and other related materials, the instant

application to seal, and this Order are sealed until the arrest warrant is executed.

       2.      IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.                     2021.01.19
                                                                              13:13:58
                                                                              -05'00'
Date: January 19, 2021                                 ___________________________________

                                                       ZIA M. FARUQUI

                                                       UNITED STATES MAGISTRATE JUDGE
